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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA

David McElveen, #321043,                                   ) C/A No. 4:18-3595-JMC-TER
                                         Plaintiff,        )
vs.                                                        )
                                                           )     Report and Recommendation
South Carolina Department of Corrections,                  )
Bryan P. Stirling,                                         )
Michael McCall,                                            )
Michael Stephon,                                           )
Gregory Washington,                                        )
                                                           )
                                         Defendants.       )
____________________________________________

         This is a civil action filed by a state prisoner, proceeding pro se and in forma pauperis.

Pursuant to 28 U.S.C. § 636(b)(1) and District of South Carolina Local Civil Rule 73.02(B)(2)(e),

the undersigned is authorized to review all pretrial matters in such pro se cases and to submit

findings and recommendations to the district court. See 28 U.S.C. § 1915(e).

                                     STANDARD OF REVIEW

         Under established local procedure in this judicial district, a careful review has been made of

the pro se complaint filed in this case. This review has been conducted pursuant to the procedural

provisions of 28 U.S.C. §§ 1915, 1915A, and the Prison Litigation Reform Act of 1996, and in light

of the following precedents: Denton v. Hernandez, 504 U.S. 25 (1992); Neitzke v. Williams, 490

U.S. 319, 324-25 (1989); Haines v. Kerner, 404 U.S. 519 (1972); Nasim v. Warden, Md. House of

Corr., 64 F.3d 951 (4th Cir.1995) (en banc); Todd v. Baskerville, 712 F.2d 70 (4th Cir.1983).

         The Complaint has been filed pursuant to 28 U.S.C. § 1915, which permits an indigent

litigant to commence an action in federal court without prepaying the administrative costs of

proceeding with the lawsuit. To protect against possible abuses of this privilege, the statute allows

a district court to dismiss the case upon a finding that the action “fails to state a claim on which relief
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may be granted,” “is frivolous or malicious,” or “seeks monetary relief against a defendant who is

immune from such relief.” 28 U.S.C. § 1915(e)(2)(B). A finding of frivolousness can be made

where the complaint “lacks an arguable basis either in law or in fact.” Denton, 504 U.S. at 31.

Hence, under § 1915(e)(2)(B), a claim based on a meritless legal theory may be dismissed sua

sponte. See Neitzke, 490 U.S. at 327.

       This court is required to liberally construe pro se complaints. Erickson v. Pardus, 551 U.S.

89, 94 (2007). Such pro se complaints are held to a less stringent standard than those drafted by

attorneys. Id. ; Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). Even under this less stringent

standard, however, the pro se complaint is subject to summary dismissal. The mandated liberal

construction afforded to pro se pleadings means that if the court can reasonably read the pleadings

to state a valid claim on which plaintiff could prevail, it should do so, but a district court may not

rewrite a complaint to include claims that were never presented, construct the plaintiff’s legal

arguments for him, or conjure up questions never squarely presented to the court. Beaudett v. City

of Hampton, 775 F.2d 1274, 1278 (4th Cir. 1985); Small v. Endicott, 998 F.2d 411 (7th Cir. 1993);

Barnett v. Hargett, 174 F.3d 1128 (10th Cir. 1999). The requirement of liberal construction does

not mean that the Court can ignore a clear failure in the pleading to allege facts which set forth a

claim currently cognizable in a federal district court. Weller v. Dep’t of Soc. Servs., 901 F.2d 387,

390-91 (4th Cir. 1990) (The “special judicial solicitude” with which a [court] should view such pro

se complaints does not transform the court into an advocate.).

                                           DISCUSSION

       Plaintiff brings this action pursuant to 42 U.S.C. § 1983. Plaintiff alleges Defendants have

refused Plaintiff any recreation since April 15, 2018, due to a state-wide lockdown. Plaintiff alleges


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he has been denied regular showers. Plaintiff alleges he has suffered from loss of muscle mass, and

other injuries. Plaintiff requests injunctive relief and monetary damages.

       Plaintiff provides sufficient factual allegations to withstand summary dismissal of Defendants

Stirling, McCall, Stephon, and Washington. In a separately docketed order, the court has authorized

issuance and service of process on these Defendants.

Defendant SCDC

       Plaintiff’s Amended Complaint fails to state a claim as to Defendant SCDC.

       Section 1983 “ is not itself a source of substantive rights, but merely provides a method for

vindicating federal rights elsewhere conferred.” Albright v. Oliver, 510 U.S. 266, 271 (1994)

(internal quotation and citation omitted). A legal action under § 1983 allows “a party who has been

deprived of a federal right under the color of state law to seek relief.” City of Monterey v. Del Monte

Dunes at Monterey, Ltd., 526 U.S. 687, 707 (1999). Under § 1983, a plaintiff must establish two

essential elements: (1) that a right secured by the Constitution or laws of the United States was

violated, and (2) that the alleged violation “was committed by a person acting under color of state

law.” West v. Atkins, 487 U.S. 42, 48 (1988).

       In order to assert a plausible § 1983 claim against any particular state actor, a “causal

connection” must exist between the conduct alleged by the plaintiff and the particular defendant

named in the suit. See Kentucky v. Graham, 473 U.S.159, 166 (1985); Rizzo v. Good, 423 U.S. 362,

371-72 (1976) (a § 1983 plaintiff must show that he suffered a specific injury resulting from a

specific defendant’s specific conduct and must show an affirmative link between the injury and that

conduct); Vinnedge v. Gibbs, 550 F.2d 926, 928 (4th Cir. 1977) (for an individual to be liable under

§ 1983, the Plaintiff must show that the defendant named acted personally in the deprivation of the


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plaintiff’s rights).

        SCDC is not a person for purposes of liability under § 1983. Will v. Michigan Dep't of State

Police, 491 U.S. 58, 66 (1989) (“We hold that neither a State nor its officials acting in their official

capacities are ‘persons' under § 1983.”); see also McElrath v. S.C. Dep't of Corr./Golden, No.

5:13-317-MGL, 2013 WL 1874852, at *2 (D.S.C. May 3, 2013). Section 1983 makes “persons”

acting under the color of law liable for Constitutional deprivations. “Persons” includes local

governments whose officials commit constitutional torts “according to municipal policy, practice,

or custom.” Weiner v. San Diego Cnty., 210 F.3d 1025, 1028 (9th Cir.2000). “Persons” does not

include “the State and arms of the State,” which receive sovereign immunity from the Eleventh

Amendment. Howlett v. Rose, 496 U.S. 356, 365 (1990). Since SCDC is an arm of the state, and

not a political subdivision or municipality, theories of municipal liability discussed in Monell v.

Department of Social Services, 436 U.S. 658 (1978) have no application here. McElrath v. S.C.

Dep't of Corr./Golden, No. 5:13-317-MGL, 2013 WL 1874852, at *2 (D.S.C. May 3, 2013).

Specifically, the “Court’s holding in Monell was limited to local government units which are not

considered part of the State for Eleventh Amendment purposes ...” Quern v. Jordan, 440 U.S. 332,

338 (1979) (internal citations and quotation marks omitted). Thus, to the extent Plaintiff seeks to

assert a § 1983 claim against SCDC, this claim is subject to summary dismissal.

                                      RECOMMENDATION

        Accordingly, it is recommended that the district court partially dismiss the complaint in this

case without prejudice. See Brown v. Briscoe, 998 F. 2d 201, 202-204 (4th Cir. 1993). Plaintiff’s

claims against Defendants Stirling, McCall, Stephon, and Washington are recommended to proceed.

As noted above, it is recommended that Defendant SCDC be summarily dismissed without prejudice


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and without issuance and service of process. In a separately docketed order, the court has authorized

the issuance and service of process on the remaining Defendants Stirling, McCall, Stephon, and

Washington.



                                                              s/ Thomas E. Rogers, III
March 19, 2019                                                Thomas E. Rogers, III
Florence, South Carolina                                      United States Magistrate Judge




           Plaintiff’s attention is directed to the important notice on the next page.




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              Notice of Right to File Objections to Report and Recommendation

        Plaintiff is advised that he may file specific written objections to this Report and
Recommendation with the District Judge. Objections must specifically identify the portions of
the Report and Recommendation to which objections are made and the basis for such
objections. “[I]n the absence of a timely filed objection, a district court need not conduct a de novo
review, but instead must ‘only satisfy itself that there is no clear error on the face of the record in
order to accept the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th
Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory committee’s note).

        Specific written objections must be filed within fourteen (14) days of the date of service of
this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see Fed. R. Civ. P.
6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5 may be accomplished by
mailing objections to:

                                 Robin L. Blume, Clerk of Court
                                   United States District Court
                                      Post Office Box 2317
                                 Florence, South Carolina 29601

        Failure to timely file specific written objections to this Report and Recommendation
will result in waiver of the right to appeal from a judgment of the District Court based upon
such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v.
Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




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